Case 2:19-cv-00486-JLB-MRM Document 32 Filed 12/02/19 Page 1 of 4 PageID 168




                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                 FORT MYERS DIVISION

HILERMISE ENOCK,

        Plaintiff,

v.                                                    Case No. 2:19-CV-486-SPC-38MRM

EXPERIAN INFORMATION SOLUTIONS,
INC., TRANS UNION, LLC, and VERIZON
WIRELESS SERVICES, LLC,

        Defendants.


         PLAINTIFF’S AGREED MOTION TO AMEND BY INTERLINEATION

        Plaintiff Hilermise Enock respectfully moves for leave to amend her Complaint [Doc. 1]

by interlineation. In support of her motion, Plaintiff states as follows:

        1.      In its Answer, Defendant Verizon Wireless Services, LLC denied that it has ever

reported or continues to report any past due amounts for an account with Plaintiff.

        2.      In its Response to Plaintiff’s First Set of Requests for Production, Defendant

Verizon Wireless Services, LLC stated that Plaintiff has incorrectly named Verizon Wireless

Services, LLC as a defendant in this case, that Verizon Wireless Services, LLC is not a cellular

telephone provider in Florida, did not maintain an account with Plaintiff, and did not engage in

credit reporting with respect to Plaintiff.

        3.      Defendant Verizon Wireless Services, LLC asserts that the proper name of the

party defendant is Verizon Wireless Personal Communications LP d/b/a Verizon Wireless.

        4.      Plaintiff named Verizon Wireless Services, LLC in her Complaint, and seeks to

amend by interlineation to change the name of defendant Verizon Wireless Services, LLC to

Verizon Wireless Personal Communications LP d/b/a Verizon Wireless.

                                                  1
Case 2:19-cv-00486-JLB-MRM Document 32 Filed 12/02/19 Page 2 of 4 PageID 169




         5.    Leave to amend shall be freely given when justice so requires. Fed. R. Civ. P.

15(a).

         6.    The claims asserted in the pleading amended by interlineation arose out of the

conduct, transaction, or occurrence set forth in the original pleading. See Rule 15(c).

         7.    As evidenced by Defendant’s Initial Disclosures, the re-named defendant knew or

should have known that, but for a mistake concerning the identity of the proper parties, the action

would have been brought against them. See Rule 15(c).

         8.    The re-named defendant received notice of the institution of this action and will

not be prejudiced in maintaining a defense on the merits. See Rule 15(c).

         9.    Therefore, pursuant to Fed. R. Civ. P. 15(c), the complaint amended by

interlineation would relate back to the re-named defendant.

         10.   The Advisory Committee Notes to Fed. R. Civ. P. 15(c)(3) indicate that the

‘mistake proviso’ was included in order to resolve “the problem of a misnamed defendant” and

allow a party “to correct a formal defect such as a misnomer or misidentification.” Garrett v.

Fleming, 362 F.3d 692, 696-697 (10th Cir. 2004) (Rule 15(c) is meant to allow an amendment

changing the name of a defendant to relate back to the original complaint if the change is the

result of a formal defect).

         WHEREFORE, Plaintiff respectfully moves for leave to amend her Complaint [Doc. 1]

by interlineation, by changing the name of defendant Verizon Wireless Services, LLC to Verizon

Wireless Personal Communications LP d/b/a Verizon Wireless, pursuant to Fed. R. Civ. P. 15(a)

& (c).




                                                 2
Case 2:19-cv-00486-JLB-MRM Document 32 Filed 12/02/19 Page 3 of 4 PageID 170




                                   Certification of Conference

       In compliance with Local Rule 3.01(g), I hereby certify that Plaintiff’s counsel conferred

with counsel for Defendant Verizon Wireless Services, LLC and that Defendant’s counsel agrees

with the relief sought in this motion.




                                             Respectfully submitted,
                                             s/ Joshua R. Kersey
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                                                3
Case 2:19-cv-00486-JLB-MRM Document 32 Filed 12/02/19 Page 4 of 4 PageID 171




                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on December 2, 2019, I electronically filed the foregoing with

the Clerk of the Court by using the CM/ECF system which will send a notice of electronic filing

to all counsel of record and that a true and correct copy of the foregoing was sent to the

following counsel of record via email:

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                                                          s/Joshua R. Kersey
                                                          Certifying Attorney




                                              4
